                                                                United States Bankruptcy Court
                                                                           Northern District of Ohio
             James R Majewski
 In re       Nichole R Majewski                                                                                   Case No.   09-36626
                                                                                         Debtor(s)                Chapter    13



                                                                     Notice of Change of Address
Debtor's Social Security Number:                                            xxx-xx-8016

Joint Debtor's Social Security Number: xxx-xx-6735

Our Former Mailing Address was:

 Name:                                 James R Majewski and Nichole R Majewski

 Street:                               1547 Latcha Road

 City, State and Zip:                  Millbury, OH 43447



Please be advised that effective May 14, 2010 our new mailing address will be:

 Name:                                 James R Majewski and Nichole R Majewski

 Street:                               1274 Delia Avenue

 City, State and Zip:                  Akron, OH 44320




                                                                                               /s/ James R Majewski
                                                                                               James R Majewski
                                                                                               Debtor

                                                                                               /s/ Nichole R Majewski
                                                                                               Nichole R Majewski
                                                                                               Joint Debtor




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